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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 In Re: Defendant Auris Health, Inc.’s                Case No.
 Subpoena to Covidien LP                              ORAL HEARING REQUESTED


 INTUITIVE SURGICAL, INC. AND
 INTUITIVE SURGICAL OPERATIONS,                       D. Del. C.A. No. 18-1359-MN
 INC.,

                        Plaintiffs,

                 v.

 AURIS HEALTH, INC.,

                        Defendant.


    DEFENDANT’S MOTION TO COMPEL COMPLIANCE WITH SUBPOENA TO
                      THIRD-PARTY COVIDIEN

       Pursuant to Federal Rules of Civil Procedure 37 and 45 and District of Massachusetts Local

Rule 37.1, Defendant Auris Health, Inc. (“Auris”) respectfully requests that the Court enter an

order compelling third party Covidien LP (“Covidien”) to provide a knowledgeable witness for

deposition pursuant to a subpoena issued from the District of Delaware in connection with an

action pending in that District, Intuitive Surgical, Inc., et al. v. Auris Health, Inc., Case No. 18-

1359-MN (D. Del. Aug. 31, 2018).

       By this Motion, Auris makes a narrowly-tailored request for an order compelling Covidien

to provide a witness for a short deposition, to be taken remotely, limited to four distinct topics: (1)

the authenticity and business records status of documents produced by Covidien; (2) the date of

first sale or first public use of the “superDimension” system described in the produced documents;

(3) confirmation that the produced documents accurately characterize the superDimension system
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as-sold; and (4) the operation and functionality of certain “navigation software” used with the

superDimension system.

       In support of this Motion, Auris relies on the Memorandum of Law and the Declaration of

Brian D. Matty, including attached exhibits, submitted herewith.



 Dated: April 24, 2020                        By:    /s/ Jack W. Pirozzolo
                                                     Jack W. Pirozzolo (BBO # 564879)
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                            REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Auris respectfully requests that the Court hold oral argument

on this motion.



                   CERTIFICATE PURSUANT TO LOCAL RULE 7.1(A)(2)

       The undersigned hereby certifies that counsel for Auris conferred with counsel for third-

party Covidien and attempted in good faith to resolve or narrow the issues in dispute, but was

unable to do so.

                                                    /s/ Jack W. Pirozzolo
                                                    Jack W. Pirozzolo

                                                    Counsel for Defendant Auris Health, Inc.




                      CERTIFICATE PURSUANT TO LOCAL RULE 37.1

       The undersigned hereby certifies that counsel for Auris has complied with the provisions

of Local Rule 37.1.

                                                    /s/ Jack W. Pirozzolo
                                                    Jack W. Pirozzolo

                                                    Counsel for Defendant Auris Health, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document and accompanying

memorandum, declaration, and exhibits have been filed via the Court’s CM/ECF system, and a

copy of this Motion and accompanying documents has been sent by email to counsel for Covidien

and Intuitive.

                                                  /s/ Jack W. Pirozzolo
                                                  Jack W. Pirozzolo

                                                  Counsel for Defendant Auris Health, Inc.




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